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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

UNITED STATES OF AMERICA,                      )
                                               )
               Plaintiff,                      )       Criminal No. 1:18-cr-00083-TSE
                                               )
v.                                             )       Judge T.S. Ellis, III
                                               )
PAUL J. MANAFORT, JR.,                         )
                                               )       Sentencing: March 7, 2019, 3:30 p.m.
               Defendant.                      )

 

                      DEFENDANT’S SENTENCING MEMORANDUM

       Defendant Paul J. Manafort, Jr. comes before the Court for sentencing after having been

convicted at trial of five counts of subscribing false income tax returns, one count of failing to file

a foreign bank account report (“FBAR”), and two counts of bank fraud.                  Mr. Manafort

acknowledges that he received a fair trial before this Court, he accepts the jury’s verdict, and is

truly remorseful for his conduct. Mr. Manafort submits this sentencing memorandum to aid the

Court in determining an appropriate sentence under 18 U.S.C. § 3553(a).

       The U.S. Probation Office (“Probation”) has calculated, under the U.S. Sentencing

Guidelines (“Guidelines”), an advisory sentencing range of 235 to 293 months’ imprisonment.

This range—roughly 19.5 to 24 years—is clearly disproportionate to the offense conduct for which

Mr. Manafort was convicted. In its submission the Special Counsel’s Office takes no specific

sentencing position. See Special Counsel Sentencing Submission (Doc. 314) (“SCO Memo.”) at

1. The defense submits that a sentence substantially below the range calculated by Probation is

warranted in light of the fact that the defendant is a first-time offender and given the nature of the

offenses for which Mr. Manafort was convicted.
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                                          BACKGROUND

       For nearly his entire career, Mr. Manafort worked for elected officials and operated

businesses engaged in political consulting and public affairs work in the United States and around

the globe. He worked hard and was proud of what he achieved. Mr. Manafort’s career culminated

in serving as an advisor and campaign chairman for then-candidate Donald J. Trump’s successful

presidential campaign in 2016.

       Shortly after Mr. Trump’s election, the Acting Attorney General appointed the Special

Counsel to investigate allegations that Mr. Trump’s campaign colluded with the Russian

government to influence the 2016 election. In October 2017, unable to establish that Mr. Manafort

engaged in any such collusion, the Special Counsel charged him in the District of Columbia with

crimes unrelated to Mr. Manafort’s work on the 2016 campaign.1 Several months later, in February

2018, Mr. Manafort was charged in this District with tax fraud, failing to report foreign bank

accounts, and bank fraud—allegations, again, that were unrelated to the 2016 campaign or any

collusion with the Russian government.2 On June 15, 2018, the Special Counsel brought new

allegations in the District of Columbia that Mr. Manafort conspired with another individual to

obstruct justice by contacting two potential witnesses which resulted in the revocation of Mr.

Manafort’s bail by the Court in the District of Columbia. He has since been incarcerated for almost

nine months in protective solitary confinement.




                                                            
1
   Mr. Manafort’s subsequent guilty plea in the District of Columbia case includes no charges that he
colluded with the Russian government to influence the 2016 election.
2
  The Special Counsel’s strategy in bringing charges against Mr. Manafort had nothing to do with the
Special Counsel’s core mandate—Russian collusion—but was instead designed to “tighten the screws” in
an effort to compel Mr. Manafort to cooperate and provide incriminating information about others. Tr. of
May 4, 2018 Motions Hearing at 5.

                                                   2
 
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        As the Court is well aware, Mr. Manafort did not plead guilty in this case. Instead, he

exercised his constitutional right to jury trial on July 31, 2018. On August 21, 2018, the jury found

Mr. Manafort guilty on eight counts: subscribing to false income tax returns (Counts 1-5), failure

to report his interest in foreign financial accounts (Count 12), and bank fraud (Count 25 and Count

27). The jury could not reach a unanimous verdict on the remaining charges and the Court declared

a mistrial on the ten other counts (Counts 11, 13-14, 24, 26, and 28-32), which were subsequently

dismissed without prejudice.

        Shortly after his conviction in Virginia, Mr. Manafort entered a plea of guilty to a

superseding information filed in the District of Columbia. In his plea agreement in that case, Mr.

Manafort accepted responsibility for those charges, acceded to a substantial forfeiture order, and

admitted his guilt with respect to the conduct involved in the remaining charges in this case. Mr.

Manafort agreed to cooperate with the Special Counsel’s Office and, as set forth below, met with

attorneys and investigators from the government numerous times. He also testified before a grand

jury in the District of Columbia on two occasions.3




                                                            
3
  More specifically, his cooperation has included a dozen interviews by the Special Counsel’s attorneys and
investigators totaling more than 50 hours. Mr. Manafort has also provided the Special Counsel with access
to requested electronic devices. Finally, the defendant has provided assistance to the Special Counsel’s
Office in transferring his assets pursuant to the forfeiture order filed in the District of Columbia.

It should be noted that the Special Counsel contends that Mr. Manafort made intentional misrepresentations
regarding five areas of inquiry; the District of Columbia court, using a preponderance standard, determined
that false statements occurred with respect to three of those topic areas. (Doc. 314 at 20). The defendant
acknowledges the DC court’s finding but continues to dispute that he made intentionally false statements.
(United States v. Manafort, 17-201-ABJ (D.D.C.) Doc. 527 at 37). This is important because the Special
Counsel now asks this Court to consider the alleged misrepresentations not only with respect to the advisory
Guidelines calculation in the case at bar, but also concerning one of the mandatory sentencing factors.
(Doc. 314 at 19-20; 22-24). The Special Counsel does so without providing all unredacted evidence or
background materials so that this Court may independently assess and come to its own findings as it pertains
to the sentencing in this case.


                                                     3
 
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       The Special Counsel’s attempt to vilify Mr. Manafort as a lifelong and irredeemable felon

is beyond the pale and grossly overstates the facts before this Court. The Special Counsel’s

conduct comes as no surprise, and falls within the government’s pattern of spreading

misinformation about Mr. Manafort to impugn his character in a manner that this country has not

experienced in decades.4 Indeed, the Department of Justice (DOJ) Inspector General reviewed the

DOJ and the FBI’s actions in advance of the 2016 presidential election and found a pattern of

unauthorized leaks of non-public information by the FBI officials to media outlets. See generally

Office of the Inspector General, U.S. Department of Justice, A Review of Various Actions by the

Federal Bureau of Investigation and the Department of Justice in Advance of the 2016 Election

(Oversight and Review Div. 18-04) (June 2018). More recently, a senior Treasury Department

official was charged with leaking information concerning suspicious activity reports (SARs)

related to Mr. Manafort (and others) to a reporter. See United States. Edwards, 19-cr-00064-GHW

(S.D.N.Y. (Complaint filed Oct. 16, 2018)). Mr. Manafort’s motion for an investigation regarding

improper disclosures of confidential material remains pending in this case. (See Doc. 43.)

       The cases that Special Counsel have brought against Mr. Manafort have devastated him

personally, professionally, and financially. The charges and associated publicity have brought

intense, negative media coverage and scrutiny, have destroyed his career, and have resulted in

financial hardship for Mr. Manafort and his family.

                                           ARGUMENT

       Under 18 U.S.C. § 3553(a), a sentencing court must “impose a sentence sufficient, but not

greater than necessary, to comply” with the purposes of sentencing set forth in the second

                                                            
4
   See, e.g., Martin London, Spiro Agnew’s Lawyer: How the Russia Leaks Could Backfire in
Court, Time.com (June 7, 2017) (available at: http://time.com/4808890/donald-trump-russiainvestigation-
leaks/).


                                                  4
 
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paragraph of the statute. See United States v. Shortt, 485 F.3d 243, 248 (4th Cir. 2007). In

undertaking its analysis, the Court must give consideration to the advisory sentencing range

recommended by the Guidelines and any relevant Guideline policy statements, as well as other

traditional sentencing factors, such as:

       (1) the nature of the offense and history and characteristics of the defendant;

       (2) the purpose of sentencing;

       (3) the kinds of sentences available;

       (4) the Sentencing Guidelines;

       (5) pertinent policy statements issued by the Sentencing Commission;

       (6) the need to avoid unwarranted disparities among similar offenders; and

       (7) the need to provide restitution to victims.

See 18 U.S.C. § 3553(a).

       Nearly twenty years after the Supreme Court’s decision in United States v. Booker, 543

U.S. 220 (2005), it is now “emphatically clear” that the “Guidelines are guidelines – that is, they

are truly advisory.” United States v. Cavera, 550 F.3d 180, 189 (2d Cir. 2008) (en banc). The

Guidelines are no longer “the only consideration” at sentencing. Gall v. United States, 552 U.S.

38, 49 (2007). Rather, the Guidelines merely provide a “starting point” for the Court’s sentencing

considerations. Id.; accord Cunningham v. California, 549 U.S. 270 (2007). While a sentencing

court must consider the Guidelines as a starting point, a court should not presume “that the

Guidelines range is reasonable.” Gall, 552 U.S. at 50. Instead the Court is to impose sentence

after “mak[ing] an individualized assessment based on the facts presented” in each particular case.

Id. Moreover, the Court need not find “extraordinary circumstances to justify a sentence outside

of the Guidelines range.” Id. at 47.



                                                 5
 
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       As one district court judge has put it, the Guidelines’ “most fundamental flaw is the notion

that the complexity of human character and conduct can be rationally reduced to some arithmetic

formula.”5 This is especially true in white collar and tax cases such as this case, where the

sentencing range is largely determined by escalating loss enhancements pursuant to USSG §§

2B1.1 and 2T1.1, an increasingly criticized approach that usually results in draconian advisory

Guidelines. See, e.g., United States v. Adelson, 441 F. Supp. 2d 506, 512 (S.D.N.Y. 2006)

(describing “the utter travesty of justice that sometimes results from the guidelines’ fetish with

abstract arithmetic, as well as the harm that guideline calculations can visit on human beings if not

cabined by common sense.”); see also United States v. Parris, 573 F. Supp. 2d 745, 754 (E.D.N.Y.

2008) (noting that despite the fact that the Guidelines “reflect Congress’ judgment as to the

appropriate national policy for such crimes . . . this does not mean that the Sentencing Guidelines

for white-collar crimes should be a black stain on common sense” and sentencing defendant “to a

term of incarceration of 60 months in the face of an advisory guidelines range of 360 to life.”).

The Supreme Court’s decisions in Gall, Cunningham, and Kimbrough v. United States, 552 U.S.

85 (2007), significantly broadened the discretion of courts to impose a less stringent sentence than

the one suggested by the Guidelines, and in this case the Court should exercise its broad discretion

and impose a sentence substantially below the Guidelines calculated by Probation, especially since

Mr. Manafort has been held in protective solitary confinement for almost nine months and has

agreed to forfeit the vast majority of his assets accumulated over a lifetime of work per the plea

agreement in the District of Columbia.




                                                            
5
   Terry Carter, Rakoff’s stance on the SEC draws fire, praise—and change: The Judge Who Said No, ABA
Journal, Oct. 2013, at 53.


                                                 6
 
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        1. The Nature and Circumstances of the Offense

                a) Offense Conduct

        In this case, Mr. Manafort was convicted of subscribing false income tax returns, failing to

file an FBAR, and engaging in bank fraud (although there is no evidence that he purposely sought

to inflict financial harm as to any of the relevant banks). Having presided over Mr. Manafort’s

trial, the Court is familiar with the charges and evidence; therefore, a detailed recitation of the facts

is not included in this memorandum. Mr. Manafort acknowledges that he established foreign bank

accounts at the behest of his foreign clients for whom he performed consulting work in Ukraine,

but thereafter transferred untaxed funds from those accounts to the United States to pay vendors

for goods and services and to purchase and improve real estate. Mr. Manafort further admits that

he intentionally failed to report his interest in the foreign accounts to the Treasury Department.

He did not report this income or these foreign accounts to the Internal Revenue Service (“IRS”).

Mr. Manafort also acknowledges that, in connection with bank loan applications, he provided false

information to Citizens Bank, the Banc of California, and The Federal Savings Bank, although as

discussed below, he did not specifically intend to cause losses to any of these banks. See USSG §

2B1.1(b)(1), App. Note 3(A)(ii) (“intended loss” defined, in relevant part, as “the pecuniary harm

that the defendant purposely sought to inflict[.]”) (emphasis added).

                b) Related Conduct

        As reflected in his plea agreement in the District of Columbia, Mr. Manafort has also

admitted to other criminal conduct and agreed to cooperate with the Special Counsel’s Office.

Specifically, Mr. Manafort admitted to the offense conduct underlying the hung counts in this

District.




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          2.     The History and Characteristics of the Defendant

                     a) Personal Life

          Mr. Manafort comes from humble beginnings and he worked hard to succeed. His

grandfather arrived from Italy in the early twentieth century. Mr. Manafort grew up in a blue-

collar family with close ties to their community. His grandfather established a small construction

company in Connecticut that became successful. Mr. Manafort’s father also worked for the

company, which continues to operate and is still managed by members of the Manafort family.

          In 1971, Mr. Manafort became the first member of his family to graduate from college,

earning degrees with honors from Georgetown University in business administration and

economics. In 1974, Mr. Manafort earned a law degree from the Georgetown University Law

Center. In 1978, he married his wife, Kathleen. They have two daughters together, Jessica and

Andrea, and two young grandchildren, with more on the way.

          Many already assume they “know” Mr. Manafort from the numerous—and mostly

negative—press reports about him and his work as a political consultant in Ukraine. Others view

him adversely solely because of his work during the 2016 campaign on behalf of President Trump.

Those who truly know him, however, paint a very different picture of the man.

          Mr. Manafort’s wife, Kathleen, writes to the Court about how her husband of 40 years has

always put her and his children first and foremost despite a career filled with grueling travel

schedules and high-pressure assignments.6 Mrs. Manafort describes her and Mr. Manafort as a

“great team” and a “partnership of equals” that has shared many memories, challenges, and

sacrifices.7 She also describes how Mr. Manafort “encouraged me to be my own person and follow

                                                            
6
   See Lttr. of Kathleen Manafort, annexed hereto as Exhibit A.
7
    Id.


                                                     8
 
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my own interests and have my own career” and never viewed her as a traditional housewife

dependent on him.8

              Kathleen recalls one particular instance where Mr. Manafort turned down an invitation to

a private dinner with then-Vice President George H.W. Bush because the dinner conflicted with

Andrea’s graduation from the Brownies to the Girl Scouts. She recalls:

                      I will never forget overhearing [Mr. Manafort’s] response to a colleague
                      that later asked him why he would miss such an important event, [Mr.
                      Manafort stated] “[i]n 25 years no one will remember if I was at that dinner,
                      but my daughter will remember that I was at her graduation.” I can assure
                      you that he wanted to be at that dinner very badly, but he didn’t hesitate, he
                      didn’t complain, and most importantly, he was right.9

              Mrs. Manafort goes on to detail how, in addition to his unwavering and empowering

support for his daughters, Mr. Manafort provided the same support for her, in particular, as she

worked through law school night classes, and, most significantly, when she suffered a very serious

brain injury and faced a long, uncertain recovery.10 Mrs. Manafort also details how her husband’s

support extended to family members such as her own parents as they got older, her sister-in-law,

who suffers from spina bifida and needed a handicapped-accessible home, and nieces and nephews

who needed help with their educations.11 Mrs. Manafort describes her husband as “the rock the

family has relied on for years.”12

              Mr. Manafort’s daughter, Andrea Shand, has also written to the Court to provide insight

into her father’s true character. Her letter is filled with memories of her father from her childhood,

                                                            
8
   Id.
9
    Id.
10
     Id.
11
     Id.
12
     Id.


                                                               9
 
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examples of his generosity with his time and resources for both his immediate and extended family,

and the fortitude he displayed after he had been indicted but still stayed up late at night to help

Andrea care for her newborn son.13 We urge the Court to review Andrea’s entire letter, but

highlight a particularly poignant section here:

              As a father, he has not just taught me the importance of being generous or
              selfless, but he has shown me what that really means and how to practice it.
              This is something that I hope to emulate with my own children. I love my
              dad more than words can describe. I am so blessed that he is my father and
              I wouldn’t change that for anything in the world. While I know that he is
              not perfect, I love him just as much as if he was. Because he is truly a good
              man. Something I wish more people would have the opportunity to see –
              and not just for his sake but for their own. Because knowing him and
              learning from him has given me faith in humanity and shown me the
              goodness that people are capable of. And I know he is more than worthy of
              forgiveness just like every person under God is.14


           A long-time friend, David Bennett, recalls in his letter to the Court how he came to know

Mr. Manafort when their daughters attended elementary school together.15 That turned into a life-

long friendship. Mr. Bennett describes Mr. Manafort as “a natural leader” and a “compassionate”

and “loyal . . . family man.”16 Another long-time friend and neighbor, Lt. Col. (Ret.) Wayne

Holland—who testified as a witness for the Special Counsel in the trial before this Court—has

written to describe that, despite his very busy work schedule, Mr. Manafort always made time for

his friends and family during family milestones, both happy and sad, such as weddings, funerals,

and their children’s graduations and sporting events.17 It is rare for a government witness to write


                                                            
13
    See Lttr. of Andrea Shand, annexed hereto as Exhibit B.
14
     Id.
15
     See Lttr. of David Bennett, annexed hereto as Exhibit C.
16
     Id.
17
     See Lttr. of Lt. Col. (Ret.) Wayne Holland, annexed hereto as Exhibit D.

                                                      10
 
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a letter to the Court asking for leniency for a defendant at the time of sentencing. Mr. Holland

hopes that he will see his old friend soon.

              Mr. Manafort grew up with his first cousin, David Cimadon, who recalls how they spent

time playing basketball at the Boys Club and how Mr. Manafort has been a steadfast member of

his family; in more recent years, Mr. Manafort has provided him with emotional support and

offered to help his family because Mr. Cimadon’s wife suffers from Alzheimer’s disease.18

              Mr. Manafort’s friend from elementary school, Bart Mazzarella, served as an altar boy with

Mr. Manafort, played football with him, and recalls that in 9th grade Mr. Manafort became his

school’s class president due to “his likability and his leadership ability (that was evident even back

then).”19 Mr. Mazzarella describes Mr. Manafort as “a consummate gentleman, always a good

sport and someone we all looked up to.”20

              In his letter to the Court, Kathy Manafort’s cousin, Jeff Richards, shares many examples

of Mr. Manafort’s kindness and generosity over the years, but one particular example reflects how

Mr. Manafort often used his political experience to help those in need. Mr. Richards writes:

                      There were many times when [Mr. Manafort] was asked for favors. My
                      youngest sister, studying in Italy, fell for a young Iraqi street painter who
                      had run away after all three of his brothers had been killed in the Iran-Iraq
                      war. Agents from Iraq found him, raided his room in Italy and took all his
                      papers. In desperation, my sister asked Paul to help, though she and Paul
                      hardly knew each other. Paul helped him obtain a Green Card, helped him
                      out of that dangerous situation, and helped him find work here. This is just
                      one example, as Paul would always make time to help others.21


                                                            
18
     See Lttr. of David Cimadon, annexed hereto as Exhibit E.
19
     See Lttr. of Bart Mazzarella, annexed hereto as Exhibit F.
20
     Id.
21
     Lttr. of Jeff Richards, annexed hereto as Exhibit G.


                                                               11
 
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           The list goes on. In his letter to the Court, Mr. Manafort’s youngest brother, Dennis

Manafort, recalls how his older brother helped pull him from the clutches of drug addiction and

get back on his feet after a difficult period. He writes:

               Paul has always been there for me, especially after I was divorced and he
               never gave up on me when I ended up being addicted to drugs myself. My
               brother was by my side at my darkest hour. It was because of his support
               and love that helped me pull my life back together. This was a very long
               battle, and he never gave up. I have been sober for many years now, I have
               a home and a steady job, and my brother never forgets to remind me how
               proud he is.22

           Thom Bond, Mr. Manafort’s brother-in-law, writes about how Mr. Manafort stepped up to

help when Mr. Bond was diagnosed with cancer, when Mr. Bond’s parents needed medical care

and adult housing, and how Mr. Manafort took an interest in and looked after his employees.23

Stacy Bond recalls how when she first met Mr. Manafort she felt intimidated but quickly

recognized that “[h]e is a man with a big heart” who formed a special bond with Mrs. Bond’s

daughter and he helped provide for her over the years.24 Rosann Garber Brodie, a long-time family

friend, writes about how Mr. Manafort is the “glue” holding their circle of friends together and

that Mr. Manafort’s friends include “doctors, an electrician, a personal trainer, a receptionist, a

UPS worker and housewives.”25 She notes that they are all “lost without [Mr. Manafort] these

days.”26




                                                            
22
    Lttr. of Dennis Manafort, annexed hereto as Exhibit H.
23
     See Lttr. of Thom Bond, annexed hereto as Exhibit I.
24
     See Lttr. of Stacy Bond, annexed hereto as Exhibit J.
25
     Lttr. of Rosann Garber Brodie, annexed hereto as Exhibit K.
26
     Id.


                                                      12
 
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           Probably one of the most poignant examples of the true Paul Manafort is reflected by how

he stepped up after his middle brother Bob’s death at a young age. In her letter to the Court, Mr.

Manafort’s niece, Starr Manafort, recalls how, after her father passed away when she was just

seven years old, Mr. Manafort stepped in as a loving and supporting father figure who cared for

Starr as though she was his own daughter.27 Mr. Manafort supported Starr’s development and

education by paying her school expenses and mentoring her as she embarked on her career.28 She

writes that Mr. Manafort:

              [H]as provided financial and emotional support in times when I have felt so
              stuck in my life that it has seemed impossible to move forward. All it took
              is one phone call or email to my Uncle and my situation would be improve
              one way or another. He is the rock upon which our family supported and
              the ground from which our success grows. The hardest thing about these
              past two years has been not having him here to celebrate our joys, ease or
              sorrows and fix our problems.29

           Mr. Manafort’s friend, Nicholas Panuzio, who has known Mr. Manafort for almost 50

years, recalls how, following his brother’s death, Mr. Manafort essentially adopted Starr “and

treated her with the same love and devotion as his two biological daughters” and has “supported

Starr in each developmental phase of her life with whatever resource was needed.”30

           These supportive letters from Mr. Manafort’s family and friends dispel the mistaken

impression of Mr. Manafort. He is a loyal and compassionate man upon whom his immediate

family, his extended family, and his friends have relied for decades for support and guidance. The

fact that these individuals are willing to submit letters of support for Mr. Manafort under the



                                                            
27
    See Lttr. of Starr Manafort, annexed hereto as Exhibit L.
28
     Id.
29
     Id.
30
     Lttr. of Nicholas Panuzio, annexed hereto as Exhibit M.

                                                     13
 
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circumstances of this high-profile case—which has received negative media attention beyond

compare—is a testament to just how much Mr. Manafort is admired by those who truly know him.

       There are many others who support Mr. Manafort and hope that his current situation will

end soon; however, they were not comfortable publicly expressing their thoughts about and

experiences with Mr. Manafort out of fear that they will be subjected to harassment and ridicule.

In fact, Mr. Manafort himself has expressly asked that some individuals not include a letter of

support out of concern for the potential impact a public filing may have on their personal and/or

professional lives.

                      b) Business Life

                      Government Service and Contributions to the U.S. Political Process

       Mr. Manafort has spent his life advancing American ideals and principles. He has served

as a trusted advisor to four United States Presidents. Mr. Manafort began his career in the Ford

Administration, where he served as Associate Director in the Office of Presidential Personnel and

acted as liaison between the White House, international and national security, and energy-related

departments for all Presidential appointments. Next, President Ronald Reagan appointed Mr.

Manafort as a Director of the Overseas Private Investment Corporation. Thereafter, Mr. Manafort

served in the Reagan Administration as a member of the Investment Policy Advisory Committee

at the Office of the U.S. Trade Representative. With strong organizational and leadership skills,

Mr. Manafort was a consultant, strategist and coordinator for the campaigns of Presidents Gerald

Ford, Ronald Reagan, George H.W. Bush, and Donald J. Trump, as well as for Senator Bob Dole

in his 1996 campaign effort. In all, Mr. Manafort has advised elected officials at the federal, state,

and local levels for over 30 years.




                                                 14
 
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                      International Consulting Work

       During his years outside of government service, Mr. Manafort worked with world leaders.

Mr. Manafort has spent a lifetime promoting democratic values and assisting emerging

democracies to adopt reforms necessary to become a part of Western society. At times, he

interacted with politicians and business people in emerging countries to assist in the development

of beliefs of equal justice, human rights and free markets. As an experienced strategist, Mr.

Manafort often found ways to build bridges and create economic opportunities between those

individuals, their countries and the United States. As part of his work, Mr. Manafort created,

organized, and conducted leadership and educational programs that helped establish functioning

democratic processes to oversee elections. He educated election officials in connection with

election management techniques and procedures.        Mr. Manafort also created and managed

international election observer programs in over 25 countries. Mr. Manafort’s efforts highlighted

the opportunities and benefits of the American system and fostered substantial relationships

between the United States and other countries.

       One example of the impact that Mr. Manafort’s work has had can be found in how he

persuaded Kenya’s former president in 1989 to send a message to the international community by

publicly burning millions of dollars’ worth of ivory obtained by illegal elephant poaching. This

event, which was featured on the cover of Time, together with Mr. Manafort’s advocacy in the

United States, led the government to declare elephants an endangered species and led Congress to

pass the African Elephant Conservation Act. Another example of Mr. Manafort’s impact can be

found in the Caribbean Basin Initiative, which Mr. Manafort helped implement during the Regan

administration and which became a landmark program to spread democracy throughout the

Caribbean and Central America.



                                                 15
 
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        It is Mr. Manafort’s work in Ukraine, and the fees that he earned there, that bring him

before this Court. The Special Counsel’s Office has repeatedly characterized this as work on

behalf of a pro-Putin politician.31 This is not true. Mr. Manafort was hired to spearhead efforts

for Ukraine to become a member state of the European Union and he acted as one of the Ukrainian

government’s liaisons to the European Commission. These efforts were clearly designed to

distance Ukraine from Putin.32

                        The 2016 Campaign

        In 2016, Mr. Manafort served as campaign chairman for Donald J. Trump’s successful

campaign for the presidency of the United States. Mr. Manafort served as an advisor and campaign

chairman for approximately five months without compensation. That work ultimately led to his

investigation by the Special Counsel’s Office, but the prosecution in this case (and the District of

Columbia case) did not charge him with anything related to Russian collusion or to the 2016

presidential campaign.33

        Mr. Manafort’s work for then-candidate Donald J. Trump is perhaps best summarized by

political strategist Doug Davenport:

            When I see/hear any of the negative reporting on Paul, I stop and shake my
            head and wonder how any of this could have gotten to this point. [Mr.
            Manafort] was ALL-IN for this current President, and never once (at least
                                                            
31
     The Special Counsel’s Office also used terms, such as “oligarch,” during the trial to describe the
Ukrainian Party of Region’s financial backers who paid for his services. See Trial Tr. at 138-141. These
characterizations were undeniably effective as some onlookers stood outside the courthouse accusing the
defendant of disloyalty—all in what this Court has correctly described as a “tax and bank fraud” case. Tr.
of Motions Hearing, June 29, 2018 at 69.
32
   What the Special Counsel also failed to acknowledge until only recently, when forced to do so in the
matter pending in the District of Columbia, was that Mr. Manafort was in regular contact with U.S. officials
at the American Embassy in Kiev to communicate details of his work in Ukraine.
33
  As the Court pointed out: “And so what is really going on … is that this indictment [was] used as a means
of exerting pressure on the defendant to give you information that really is in [the Special Counsel’s]
appointment, but itself has nothing whatever to do with it.” Tr. of May 4, 2018 Motions Hearing at 8.


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             to me) ever asked, offered, or suggested any shortcuts or other dirty political
             tactics – foreign or domestic – to try to further the candidacy of the man
             who now sits in the most powerful chair on earth. It is easy to look at 40+
             years of someone’s accomplished career in DC and around the world and
             boil it down to a simple summary of short cuts and greased relationships –
             as opposed to looking at the whole of a man and his contributions to society
             and government service that was Paul Manafort.34

         Though some may disagree with Mr. Manafort’s politics and may not like some of the

individuals he worked for, it cannot be said that Mr. Manafort had anything but an extraordinary

and largely successful career.

                       c) Organizational and Charitable Work

         Mr. Manafort has been involved with a number of organizations. He has served as a

member of the Board of Directors for the Center for Study of Democratic Institutions, which

focused on public health, democracy, and human rights; the Center for Democracy, a think tank

Mr. Manafort established to focus on democratic institution building, with particular emphasis on

third-world countries and former republics of the Soviet Union; the U.S. Youth Council, an

organization that sponsored educational, cultural, political, and business exchange trips and

seminars for emerging young leaders in various countries; and as a Senior Fellow of the Center for

Strategic and International Studies, a bipartisan think tank dedicated to helping lawmakers and

policymakers chart a course for a better world.

         Mr. Manafort has also been involved in charitable and community organizations closer to

home. Mr. Manafort’s father served as the mayor of New Britain, CT, and encouraged his children

to become involved in public service and give back to their community. For example, before he

relocated to Virginia to attend college, Mr. Manafort established a program with the local Boys

Club that allowed low income children residing in public housing projects to participate in the


                                                            
34
    Lttr. of Doug Davenport, annexed hereto as Ex. N.

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Club’s basketball, baseball, and football leagues, where the children learned skills, teamwork, and

sportsmanship. The program became very successful and continued even after Mr. Manafort left

New Britain to attend college. Mr. Manafort’s interest in helping young people continued when

he ran his public affairs company, where he established a successful intern program that taught

recent college graduates both business and organizational skills; many graduates of the program

went on to leadership positions in public relations, the media, and politics.

       There are other examples of Mr. Manafort’s genuine care for others and contributions to

his community. After his wife Kathy suffered a serious injury in 1998, Mr. Manafort became

active in brain trauma research and fundraising, and he sat on the Brain Trauma Foundation’s

board of directors. Mr. Manafort volunteered his time to coach basketball and soccer programs

for girls; he served as President of the U.S. Youth Council, which adopted an exchange program

to help implement programs for future leaders from foreign counties to promote democratic values

and free market principles; and he helped create and manage annual political seminars for young

men and women from the Young Republicans National Federation. Mr. Manafort has also raised

money for numerous community and societal causes, including non-profit Inova Alexandria

Hospital, the Good Shepard Catholic Church, the National Diabetic Association, Georgetown

University Law Center, and the Boy and Girl Scouts of America. Mr. Manafort also created and

funded an annual education scholarship program that allowed boy scouts from low income families

located in this father-in-law’s district to attend college. At St. Ann’s Church in New Britain,

Connecticut, Mr. Manafort established a community resource program for elderly and low income

members of his community that provided them with needed food, transportation to medical

appointments and shopping trips, and daily in-door activities for senior citizens.




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                     d) Age and Health Concerns

        Mr. Manafort’s age suggests that a lengthy sentence of imprisonment would be particularly

detrimental. A study commissioned by the DOJ’s National Institute of Corrections concluded that

imprisonment is especially problematic for older inmates like Mr. Manafort, finding that “several

important factors seem to speed the aging process for those in prison” and identifying numerous

management problems associated with older inmates. See National Institute of Corrections, U.S.

Department of Justice, Correctional Health Care (2004) at 8-9.35            This study noted that older

inmates are uniquely vulnerable to abuse and predation, that they experience difficulty in

establishing social relationships, that they often need special physical accommodations in a

relatively inflexible physical environment, and that many need special programs in a setting where

special privileges are disdained. Id. at 11. The study found that older first-time offenders “are

frequently severely maladjusted and especially at risk for suicide, explosiveness, and other

manifestations of mental disorder.” Id. Moreover, “[s]ince their behaviors are not well tolerated

by other inmates, their victimization potential is high.” Id.

        Aside from high blood pressure, Mr. Manafort was a relatively healthy 69-year-old man

before he was remanded to custody in June 2018, where has been held in protective solitary

confinement. As described in the PSR, since that time, his health has deteriorated. See PSR ¶¶

118-120. In jail, he has developed severe gout, which causes significant pain and swelling in his

right foot. At one point, he needed to be transported to Alexandria Hospital for treatment. Id. at

¶ 119. Mr. Manafort requires a wheelchair to ambulate on bad days, or a cane on “good” days.

Id.




                                                            
35
    Available at: (https://info.nicic.gov/nicrp/system/files/018735.pdf).

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       Since his incarceration, Mr. Manafort has been prescribed numerous prescription drugs to

address various health challenges, including: Allopurinol and Colchicine to treat his gout

symptoms; Amlodipine Besylate and Carvedilol to treat his high blood pressure; Atorvastatin to

treat high cholesterol; Otezla and Lac-Hydrin to treat psoriasis; and Meloxicam to treat arthritis,

among other prescription and over-the-counter treatments. Although Mr. Manafort downplays

these challenges for his family and friends, the reality is he is not the relatively healthy man he

was prior to his incarceration. Recently, doctors at the jail identified a potential thyroid problem

and Mr. Manafort is currently undergoing diagnostic testing.

       This is not to say that older defendants should not be held accountable simply because of

their age and health issues, but outside observers have seen the impact of Mr. Manafort’s

incarceration. A prominent legal and political commentator, who will never be mistaken as

someone kindly disposed to the defendant, recently observed him in the courtroom in the District

of Columbia and stated the following in The Hill:

           I saw Paul Manafort in court the other day[.] This is a man who looks like
           he’s dying. He is walking with a cane. He looks disoriented. He has
           declined so precipitously in prison that when you realize he has now lost his
           cooperation agreement and the chance for a lower sentence and he’s facing
           an entirely separate prison sentence in the Virginia case, a 70-year-old man
           is looking like he may die in prison, and it is just a profound thing to think
           about. Apparently he’s using a wheelchair a lot of the time[.] Prison is
           rough for anybody. Yes, he did wrong and he did wrong over and over
           again. But, I mean, this man is really, really in danger of losing his life.36

       The conditions of Mr. Manafort’s incarceration have taken an even greater toll on his

mental and emotional health. See PSR ¶¶ 121-123. To ensure his safety, Mr. Manafort is confined

to solitary confinement at the Alexandria Detention Center where he spends 21 hours a day locked

                                                            
36
    Joe Concha, CNN’s Toobin: ‘Almost unrecognizable’ Manafort ‘In danger of losing his life’ in prison,
CNN (Feb. 14, 2019) (available at: https://thehill.com/homenews/media/430004-cnns-toobin-almost-
unrecognizable-manafort-in-danger-of-losing-his-life-in).


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in a cell alone. Family visitation time is limited to just two 30-minute visits per week; as a result,

he meets more often with his legal team than his loved ones. He suffers from severe anxiety, panic

attacks, and a constant feeling of claustrophobia while he is locked alone in his cell each day.

These conditions of confinement were designed for violent offenders who pose risks to the safety

of other inmates or jail personnel, or who are placed in solitary confinement as punishment for

disciplinary infractions; they were surely not intended for the long-term confinement of a first-

time white-collar offender of Mr. Manafort’s age and health.37

        Section 3553(a) recognizes that the Court should take into account any medical issues

facing the defendant and whether the sentence imposed will “provide the defendant . . . with

needed medical care . . . in the most effective manner.” 18 U.S.C. § 3553(a)(2)(D). The advisory

Guidelines likewise provide that:

            Physical condition or appearance, including physique, may be relevant in
            determining whether a departure is warranted, if the condition or
            appearance, individually or in combination with other offender
            characteristics, is present to an unusual degree and distinguishes the cases
            from the typical cases covered by the Guidelines. An extraordinary physical
            impairment may be a reason to depart downward; e.g., in the case of a
            seriously infirm defendant, home detention may be as efficient as, and less
            costly than, imprisonment.

USSG §5H1.4.
        Courts often impose non-custodial sentences in cases involving defendants who suffer from

serious medical conditions. For example, following the defendant’s conviction after trial for wire

fraud in United States v. Burks, 2010 WL 1221752 (E.D.N.Y. Mar. 29, 2010) , the sentencing court

imposed a sentence of one month incarceration and five years’ probation despite a Guidelines



                                                            
37
    The detrimental effects of solitary confinement have been well documented. See, e.g., Robert T. Muller,
Phd., Solitary Confinement is Torture: Research reveals numerous adverse effects of solitary confinement
on              inmates,                  Psychology         Today, May 10, 2018       (available       at:
https://www.psychologytoday.com/us/blog/talking-about-trauma/201805/solitary-confinement-is-torture).

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range of 57-71 months where, inter alia, the defendant suffered from degenerative diabetes. Id. at

*2; see also United States v. McFarlin, 535 F.3d 808, 810-11 (8th Cir. 2008) (affirming variance

for 56-year old defendant with numerous health problems, including coronary disease and who

had undergone several operations); United States v. Alatsas, 2008 WL 238559 (E.D.N.Y. Jan. 16,

2008) (imposing a term of probation, despite Guidelines range of 24-30 months where, inter alia,

“[d]efendant has multiple complex medical problems, which will be better cared for outside of

prison.”).

       In United States v. Barbato, 2002 WL 31556376 (S.D.N.Y. Nov. 15, 2002), a pre-Booker

decision, the defendant pled guilty to using extortionate means to collect extensions of credit. The

sentencing court granted a downward departure from a then-mandatory Guideline range of 24-30

months imprisonment based on the defendant’s history of heart problems, and imposed a sentence

of home detention and two years of supervised release. Notably, the Barbato court imposed home

confinement even though the prosecution contended that the Bureau of Prisons would be able to

provide adequate treatment for the defendant’s health conditions. The court noted that “[i]t is often

relevant, though not always controlling, whether the BOP can provide adequate care.” Id. at *4.

       For these reasons, Mr. Manafort’s physical, mental, and emotional health, together with

his age and his almost nine-month stay in solitary confinement, weigh in favor of a sentence in

this case that does not include a lengthy period of incarceration.

       3. The Purpose of Sentencing

       Pursuant to the sentencing statute, a defendant’s sentence should be designed:

             (A) to reflect the seriousness of the offense, to promote respect for the law,
             and to provide just punishment for the offense;
             (B) to afford adequate deterrence to criminal conduct;
             (C) to protect the public from further crimes of the defendant; and
             (D) to provide the defendant with needed educational or vocational training,
             medical care, or other correctional treatment in the most effective manner[.]


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18 U.S.C. § 3553(a)(2)

       These factors do not warrant the lengthy period of incarceration that was calculated by

Probation pursuant to the Guidelines. To be clear, Mr. Manafort does not dispute that his crimes

were serious. He did not report a significant amount of the income deposited into the foreign bank

accounts on his tax returns, he failed to disclose those financial accounts to the Treasury

Department, and he submitted false information to lenders in the United States when his finances

grew tight.

       As a mitigating factor, however, it is worth noting that the foreign accounts at issue were

established at the behest of Mr. Manafort’s foreign clients, not because Mr. Manafort intended

from the outset to use them to evade income tax or foreign account reporting obligations. In fact,

the evidence at trial was that, in 2014, prior to any indictments in Virginia or the District of

Columbia, Mr. Manafort voluntarily disclosed his interest in foreign accounts to the FBI, which

was engaged in an unrelated investigation of Ukraine-based assets. See Trial Tr. at 1453-1457

(testimony from the government’s primary cooperating witness, Rick Gates, that in 2014 he and

Mr. Manafort met with attorneys from DOJ and special agents from the FBI and disclosed DMI’s

work in Ukraine and foreign accounts).

       With regard to the bank fraud conduct in this case, Mr. Manafort admits his guilt and

acknowledges that he knew the loan applications contained false information. However, Mr.

Manafort intended to repay each of the loans in questions and did not purposely seek to inflict

pecuniary harm as to any of the banks. All but one of the bank loans charged in this case were

collateralized by valuable properties. In fact, all of the loans at issue in this case were performing

under the terms of the relevant loan agreements until the Special Counsel’s Office initiated the




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prosecutions of Mr. Manafort and brought forfeiture allegations, which resulted in over $2 million

in cash being frozen.

         There is no risk of recidivism in this case given the harsh lesson Mr. Manafort has already

learned, especially in light of his age. See, e.g., United States v. Smith, 275 F. App’x 184, 187 (4th

Cir. 2008) (affirming 54 months downward variance in part because of low risk of recidivism).

Statistical data from a study commissioned by the United States Sentencing Commission show

that “[r]ecidivism rates decline relatively consistently as age increases.” U.S.S.C., Measuring

Recidivism: The Criminal History Computation of the Federal Sentencing Guidelines, at 12.38

That study indicates that a defendant over the age of 50 in criminal history category I has a 6.2

percent likelihood of recidivating. Id. at Ex. 9.39 Based on the government’s own studies, then,

the likelihood of recidivism for a 70-year-old man such as Mr. Manafort is likely far less than 6.2

percent.

         Beyond his age, a number of other characteristics make recidivism by Mr. Manafort highly

unlikely, including his advanced level of education and lack of illicit drug use. See Measuring

Recidivism, at 12-13. Indeed, elderly tax and white-collar offenders generally are considered low

risk by the Bureau of Prisons and pose very little risk of reoffending.40



                                                            
38
          Available               at:         (https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-
publications/2004/200405 Recidivism Criminal History.pdf).
39
   A related study of recidivism rates by “true” first offenders (i.e., those with no prior involvement with
the criminal justice system) showed that such first offenders had a “primary” recidivism rate (including
supervised release/probation violations, re-arrest, and re-convicted) of 6.8 percent, and a re-conviction rate
(involving an actual conviction for a subsequent offense) of only 2.5 percent. U.S.S.C., Recidivism and the
“First Offender,” at Ex. 6 (available at: https://www.ussc.gov/sites/default/files/pdf/research-and-
publications/research-publications/2004/200405_Recidivism_First_Offender.pdf).
40
  See Evan J. Davis, Is the First Step Act Good New for Tax and Other White-Collar Defendants? (Jan. 4,
2019) (available at: https://www.taxlitigator.com/is-the-first-step-act-good-news-for-tax-crime-and-other-
white-collar-defendants-by-evan-j-davis/).

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       Here, Mr. Manafort has been personally and financially punished as a result of his illegal

conduct and there is no reason to believe that a sentence of many years in prison is necessary to

prevent him from committing further crimes. Given the severe damage to his professional

reputation and the enormous investigative efforts of the Special Counsel to examine every aspect

of his life, he poses no future risk to the public of reoffending and specific deterrence for a soon-

to-be septuagenarian is not necessary under these circumstances.

       Lastly, a lengthy term of imprisonment is not required in this case to provide Mr. Manafort

with necessary educational or vocational training, medical care, or other correctional treatment.

Indeed, with regard to needed medical care, those needs could be far better addressed by Mr.

Manafort’s own physicians, at his own expense, outside of the federal prison system.

       4. The Kinds of Sentences Available

       The Court has the authority and discretion to impose a wide range of alternatives to the

lengthy term of incarceration contemplated by the Guidelines. See 18 U.S.C. §§ 3553(a)(3) and

3561(a)(1). A sentence significantly below the Guidelines is appropriate in this case in light of:

Mr. Manafort’s remorse for his conduct; his acceptance of responsibility as reflected in the District

of Columbia plea agreement—where he also admitted his guilt as to the mistried counts in this

case; the fact that he (specifically) and the public (generally) have been deterred from engaging in

similar conduct in light of the punishment already suffered and the widespread media attention

this case has garnered; his age and health concerns; the financial penalty Mr. Manafort has

experienced as a result of his prosecution and forfeiture agreement; the detrimental effect on his

family; and, as explained below, the types of sentences imposed for similar conduct. Although

there are many types of sentences available, the defense respectfully asks that, in fashioning its




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sentence, the Court to consider that Mr. Manafort has served significant time in solitary

confinement and has agreed to forfeit substantial assets accumulated over his working life.

           5. The Sentencing Guidelines and The Commission’s Policy Statements

           Mr. Manafort objects to several of Probation’s determinations as set out in the PSR.

                      a) The Tax – not FBAR – Guidelines Are Appropriate in this Case

           Probation has calculated the “Group 1” Counts (False Income Tax Returns and Failure to

File Reports of Foreign Bank and Financial Accounts (“FBAR”)) using the Guidelines applicable

to FBAR convictions. See PSR ¶ 76; see also USSG § 2S1.3(c)(1) (directing offenses committed

for the purpose of violating the tax laws to the most appropriate tax Guidelines, but only if doing

so results in a higher offense level). The defendant submits that the tax Guidelines are the

appropriate barometer in this case, which the Court has previously described as a “bank fraud and

tax” case. See, e.g., Tr. of Motions Hearing, June 29, 2018 at 69.

           The defendant’s position has a historical basis. The government long advocated the use of

the tax Guidelines in criminal tax cases involving FBAR violations. For nearly ten years (i.e., the

time during which DOJ began to aggressively enforce the FBAR statute in connection with federal

tax offenses involving foreign bank accounts), DOJ urged the application of the tax Guidelines

when determining sentences in combined tax and FBAR cases.41 DOJ then gave notice that it

might alter this practice in December 2017, stating that it may now argue that USSG § 2S1.3 is the

correct Guideline for criminal tax cases involving offshore accounts.42 The Special Counsel’s




                                                            
41
    See generally Anton Janik, Jr., DOJ Announces Major New Shift in Criminal Sentencing in Offshore Tax
Matters, Mitchell Williams (Dec. 8, 2017). (Available at: https://www.jdsupra.com/legalnews/doj-
announces-major-new-shift-in-39945/).
42
     See id.

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Office acknowledges this background. See SCO Memo. at 12 (“The Tax Division changed its

position on the appropriate guideline provision in FBAR cases sometime in late 2017.”)

       What the government glosses over is the fact that the Special Counsel’s Office charged Mr.

Manafort with a criminal tax conspiracy on October 27, 2017, months before the purported change

in DOJ’s practice relating to the tax and FBAR Guidelines. Mr. Manafort was arraigned on

October 30, 2017, and that indictment alleged that he wired substantial amounts of funds from

foreign bank accounts located in Cyprus (and elsewhere) into the United States, and that “Manafort

did not pay taxes on this income. . .” See Indictment, No. 1:17-201 (ABJ) at ¶ 16. The Special

Counsel attempts to factually distinguish United States v. Kim, 1:17-cr-00248 (TSE/LMB) (E.D.

Va. 2018), by arguing that “the Kim prosecution was part of a series of prosecutions involving the

use of overseas accounts to hide tax offenses.” See SCO Memo. at 13. But that is exactly the same

argument that the Special Counsel made at Mr. Manafort’s trial. See e.g., Trial Tr. at 2367

(government’s statement during closing argument that “Mr. Manafort lied to his bookkeeper about

these foreign accounts, about the income and the existence of the accounts, and he lied to his tax

preparers. That income never made it on to his books and was never reported on this tax returns.”).

The real difference, it seems, is that the Special Counsel’s Office is prosecuting someone caught

up in its Russian collusion investigation, so to ratchet up the pressure, or to make an example of

Mr. Manafort, DOJ’s previous practice can be ignored. At bottom, the use of the FBAR Guidelines

in this case goes against the government’s longstanding practice of advocating for the application

of the tax Guidelines to tax and tax-related offenses.

       Mr. Manafort is entitled to the same treatment as other defendants facing similar facts and

circumstances. Probation should re-calculate the Group 1 Counts under the more appropriate




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provisions of USSG § 2T1.1 and, based on the tax loss amount computed, see ¶ 36,43 determine

that the Base Offense Level is 24. See USSG § 2T4.1(J) (tax loss exceeds $3,500,000 but under

$9,500,000); see also USSG § 2T4.1 (Base Offense Level determined by reference to the Tax

Table at USSG § 2T4.1). Regarding the eight counts of conviction, more than half (five) related

to tax offenses (i.e., Counts 1 – 5), and the lone FBAR conviction (Count 12) was fully

encompassed in the evidence presented by the government and the conviction returned for Count

3 (i.e., subscribing to a false income tax return which, inter alia, failed to identify foreign bank

accounts). To use the FBAR Guidelines as the lodestar for the calculation—when the jury reached

a unanimous verdict on only one of the four FBAR counts—is to allow the “tail to wag the dog.”

        The evidence adduced during trial demonstrates that there is no basis for such a rigid

approach. Testimony from the government’s own witnesses, and documentary evidence establish

that the foreign accounts were opened in order to receive payments for Mr. Manafort’s legitimate

consulting services in Ukraine. See, e.g., Trial Tr. at 1185-86 (testimony from Rick Gates that

Cypriot entities and accounts were established at the request of Ukrainian businessmen who were

financing Mr. Manafort’s work for the Party of Regions). Additionally, substantial amounts were

ultimately paid out in fees to professionals that Mr. Manafort utilized, related business expenses,

or was reported as income on the books and records and tax returns of DMP and DMP

International. See, e.g., Trial Tr. at 79-80 (testimony from Thomas Devine regarding contracts

with Mr. Manafort and others to provide DMI with media services in connection with Ukraine

campaign); Trial Tr. at 146-47 (testimony from Daniel Rabin regarding television productions

                                                            
43
    Mr. Manafort was never audited in connection with his offshore assets. The defense submits that the tax
loss amount reflected in the PSR has been estimated and does not account for funds embezzled by the
Special Counsel’s primary cooperating witness at Mr. Manafort’s trial, amounts for which Mr. Manafort
would be entitled to claim theft loss deductions. Therefore, the tax loss is likely less that the figure
calculated by Probation.


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services he performed for DMI related to Ukraine presidential election); Trial Tr. at 1023

(testimony from Mr. Manafort’s CPA confirming that approximately $92.5 million in revenue was

reported on DMP and DMI tax returns for the period 2005 through 2015. See also Defendant’s

Trial Ex. 2. Payments directed to personal vendors and utilized to purchase real estate that were

not reported as income on U.S. income tax returns are clearly the crux of the loss suffered by the

U.S. Treasury, and this is the appropriate amount under the tax Guidelines upon which to calculate

loss in this case.44

        If the Court concludes that the tax Guidelines are more appropriate, there are two potential

Special Offense Characteristics under USSG § 2T1.1 that need to be addressed, but neither

enhancement is warranted here. There was nothing illegal about Mr. Manafort’s core business

itself; i.e., international political consulting. Indeed, at trial, the government called two individuals

as witnesses who worked with Mr. Manafort on these international campaigns in Ukraine. See

supra. Further, even if one considers the defendant’s guilty plea in the District of Columbia (to a

general conspiracy to violate the Foreign Agents Registration Act (“FARA”)), legal research has

not uncovered a single case where the “esoteric” FARA statute (as the Special Counsel has

described that law) resulted in a sentencing enhancement under the Guidelines. A two-level

enhancement under USSG § 2T1.1(b)(1) is not warranted.

        Second, there was nothing “sophisticated” about the use of offshore vehicles in this case

that warrants an enhancement.45 Despite the presence of foreign entities and offshore bank



                                                            
44
    Also at issue during the trial were various transactions between the Cypriot entities and entities that Mr.
Manafort controlled in the United States that were initially recorded as loans. These “loans,” however,
were ultimately reported as income on Mr. Manafort’s tax returns. See Defendant’s Trial Exhibit 3.
45
  See USSG § 2T1.1, App. Note 5 (noting that hiding assets “through the use” of offshore vehicles
“ordinarily indicates sophisticated means”) (emphasis added).


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accounts, the evidence presented by the government’s main witness established that these were set

up at the behest of Mr. Manafort’s foreign clients for their own reasons, see, e.g., Trial Tr. at 1185-

86 (testimony from Rick Gates that Cypriot entities and accounts were established at the request

of Ukrainian businessmen), not as a method for the defendant to hide his assets from the Internal

Revenue Service. In fact, Mr. Manafort disclosed various offshore structures to DOJ and FBI

agents in 2014 in connection with the government’s investigation of Ukraine-based assets—long

before any indictments were returned; this fact alone is difficult to square with the application of

this enhancement. See, e.g., Trial Tr. 1453-1457 (testimony from Rick Gates that in 2014 he and

Mr. Manafort met with attorneys from DOJ and agents from the FBI and disclosed DMI’s work in

Ukraine and foreign accounts). The two-level enhancement under USSG § 2T1.1(b)(2) is not

warranted.

        Lastly, Probation has characterized a series of loans from Cypriot entities controlled by

Mr. Manafort to domestic entities that he controlled as “designed to fraudulently reduce [his]

report[able] taxable income.” PSR ¶ 27. However, all of these loans were ultimately reported as

income on Mr. Manafort’s income tax returns and Mr. Manafort paid the related tax due. See

Defendant’s Trial Exhibits 2 and 3.

        For the above reasons, Mr. Manafort respectfully submits that the Court compute the

advisory Guidelines in this case using the tax Guidelines,46 which will result in a Total Offense

Level of 24. Mr. Manafort is in Criminal History Category I. See PSR ¶¶ 106, 107. The




                                                            
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    We submit that, even if the Guidelines are computed under USSG § 2S1.3, it should be noted that this
provision contains a cross reference to USSG § 2B1.1 which, in turn, contains the rules regarding computing
actual and intended loss. Here, the actual loss and intended loss are the same; i.e., the approximately $6
million in taxes that Mr. Manafort did not report, not the approximately $55 million that flowed through
the relevant foreign accounts.


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appropriate advisory sentencing range related to the Group 1 Counts should be 51-63 months’

imprisonment.

                   b) The Loss Attributed to the Bank Fraud Charges is Overstated

        Probation has determined that Mr. Manafort should be held accountable for fraud losses

totaling $6,021,716.71 in connection with the loans and loan applications associated with Citizens

Bank, Banc of California, and The Federal Savings Bank. See PSR ¶ 64. Importantly, as to all of

the loans at issue, there was no evidence introduced at trial that the defendant “purposely sought

to inflict” any harm on the bank. See USSG § 2B1.1(3)(A)(ii). With the exception of one

unsecured loan where no collateral was requested, all of the loans were collateralized. More

importantly, all of the loans were performing up to the time that Mr. Manafort was indicted in this

case.

        Of the $6 million loss number, $5.5 million is “intended loss” to Citizens Bank in

connection with a loan application for the Union Street property in Brooklyn, NY, which never

closed. See id.; see also Trial Tr. at 1937-38. There is no evidence, however, that the defendant

“purposely sought to inflict” any harm on the bank.         First, the Citizens Bank loan was a

construction loan based on the future value of the underlying collateral, which was sufficient to

protect the bank from losses. Second, contrary to Probation’s assertion alleging non-disclosure of

an existing mortgage on the property, see PSR at pp. 53-54, at the time the loan was being

considered, namely on July 11, 2016, the date on the initial loan application filled out by the bank

(Gov. Ex. 255 and Trial Tr. at 1940), Citizens Bank had been aware for at least four months that

there was a preexisting mortgage on the Union Street property. See Trial Tr. at 1941. There is

simply no evidence to support the allegation that Mr. Manafort purposely sought to inflict any




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harm on Citizens Bank in seeking to make a secured loan when the bank had full knowledge of

the existing mortgage. Accordingly, the analysis should exclude the $5.5 million amount.47

                    c) An Enhancement Under USSG § 2B1.1(b)(1)(C) Is Inapplicable

        Probation has also increased the offense level by two under USSG § 2B1.1(b)(10)(C) based

on the theory that the bank fraud offense conduct involved sophisticated means. See PSR ¶ 88.

Like the conduct related to the tax offenses in this case, however, nothing about the bank fraud

was particularly sophisticated. With regard to transfers from foreign accounts to purchase and

improve property in the United States, there is nothing inherently complex about instructing a bank

to execute a wire transfer order. With regard to Mr. Manafort’s and Mr. Gates’ interactions with

the mortgage lenders, there was nothing complex about lying to the banks. Indeed, it was

misstatements and falsified documents that formed the backbone of the government’s bank fraud

charges. See PSR ¶ 38 (noting that the offense conduct included “lying about Manafort’s and

DMI’s income, lying about their debt, and lying about Manafort’s use of the property and loan

proceeds.”). With regard to falsified documents, the offense conduct was far from sophisticated.

In fact, the evidence at trial demonstrated that Mr. Manafort and Mr. Gates simply altered

Microsoft Word documents to reflect incorrect income information, or they provided the banks

with outdated or fabricated information. See PSR ¶¶ 37-63. An enhancement under USSG §

2B1.1(b)(10)(C) is therefore not warranted.

                    d) An Enhancement Under USSG § 3B1.1 Is Not Warranted

        Probation has also applied aggravating role enhancements with respect to both the Group

1 and Group 2 Counts on the theory that Mr. Manafort “was an organizer or leader of criminal

activity that was otherwise extensive.” See PSR ¶¶ 81 (tax/FBAR charges); 91 (bank fraud

                                                            
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      Significantly, instead of moving forward with the Citizens Bank loan on the Union Street property, a
loan on Union Street was obtained from The Federal Saving Bank, which has not resulted in a loss.

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charges). The PSR omits the specific language from USSG § 3B1.1(a) which refers to five or

more participants being involved in the criminal activity. Id. A similar provision is found in USSG

§ 3B1.1(b) with regard to a “manager or supervisor” of schemes involving five or more participants

or that is otherwise extensive. USSG § 3B1.1(c) imposes a two-level enhancement for any

“organizer, leader, manager, or supervisor” engaged in any criminal activity without regard for the

number of participants or the extensiveness of the criminal conduct.

       The background comments to these Guideline provisions provide that they should be

considered with respect to “criminal organization[s].” See USSG § 3B1.1, Background Note

(“This section provides a range of adjustments to increase the offense level based upon the size of

a criminal organization (i.e., the number of participants in the offense) and the degree to which

the defendant was responsible for committing the offense.”) (emphasis added); see also id., App.

Note 2 (“An upward departure may be warranted … in the case of a defendant …who … exercised

management responsibility over the property, assets, or activities of a criminal organization.”)

(emphasis added); id., App. Note 3 (“In assessing whether an organization is ‘otherwise

extensive,’ all persons involved during the course of the entire offense are to be considered.”)

(emphasis added). See also United States v. Slade, F.3d 185, 190 n.1 (4th Cir. 2013) (to qualify

for aggravating role enhancement, the government must establish that defendant oversaw

“participants, as opposed to property, in the criminal enterprise.”) (emphasis added); United States

v. Robinson, 541 F. App'x 293, 295 (4th Cir. 2013) (aggravating role enhancement affirmed where

defendant was leader of a group of drug dealers).

       The commentary from the Sentencing Commission and Fourth Circuit precedent strongly

suggest that these role enhancements are applicable to leaders or managers of organizations that

have a primary purpose of engaging in crime, such as foreign cartels that smuggle narcotics into



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the United States, or motorcycle gangs that unlawfully transport and distribute firearms. But

neither consulting company associated with Mr. Manafort, DMP and/or DMI, operated as a

criminal organization. DMP was a company formed in 2005 to engage in political consulting

work, while DMI was a company formed in 2011 to engage in consulting, public affairs, and public

relations work for foreign clients. See Doc. 9 (Superseding Indictment) ¶ 10. They were not

“criminal organizations” as that phrase is ordinarily understood and, therefore, these enhancements

are not applicable in this case.

       Mr. Manafort cannot fairly be described as an organizer, leader, manager, or supervisor

under USSG § 3B1.1. The government’s star witness, Rick Gates, testified that he was the only

DMP or DMI employee that engaged in any criminal activity with Mr. Manafort. See Trial Tr. at

1097. In fact, the evidence at trial established that Mr. Gates often acted alone, both when dealing

with U.S. lenders in connection with the loan applications that underpin the bank fraud counts, and

when handling transfers of funds held offshore. Mr. Gates operated with little or no management

supervision by Mr. Manafort; indeed, at trial Mr. Gates testified that this lack of oversight enabled

him to embezzle hundreds of thousands of dollars from Mr. Manafort. See Trial Tr. at 1419. This

was not “extensive” criminal activity by any stretch of the imagination.

       Because Mr. Manafort’s public affairs and consulting companies were not criminal

organizations, and because Mr. Manafort cannot be described as an organizer, leader, manager, or

supervisor, the enhancements under USSG § 3B1.1(a) are inapplicable and should be omitted from

the Guideline analysis.

                   e) Mr. Manafort Should Receive Credit for Acceptance of Responsibility

       Finally, Probation has declined to credit Mr. Manafort with accepting responsibility under

USSG § 3E1.1. See PSR ¶¶ 72, 99. Although Mr. Manafort proceeded to trial in this case (after



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the Special Counsel declined to extend a reasonable plea offer), Probation’s determination in this

regard ignores the fact that, shortly after trial, Mr. Manafort pleaded guilty in the District of

Columbia and accepted responsibility for offense conduct in both that District and the Eastern

District of Virginia, including the counts in this case for which a mistrial was declared. See PSR

¶ 8. In fact, Probation has included conduct that Mr. Manafort admitted in the District of Columbia

plea as relevant conduct under the Guidelines in this case. See PSR ¶¶ 75 (FBAR counts), 85

(bank fraud counts). It is inequitable to increase Mr. Manafort’s Guidelines based on offense

conduct he has admitted in his District of Columbia plea, on the one hand, and then decline to give

him any consideration for accepting responsibility on the other. Mr. Manafort should be credited

for acceptance of responsibility under USSG § 3E1.1.

       There are no pertinent U.S. Sentencing Commission policy statements.

    4. The Need to Avoid Unwarranted Disparities

       A critical sentencing factor in this case—and the one that the Special Counsel Office

pointedly ignores in its papers—is the need to avoid disparity with the types of sentences imposed

in similar cases. In similar cases, below-Guidelines variances are substantial and have reflected

the belief of many courts, academics, and commentators that the Guidelines in tax and bank fraud

cases—driven by a mechanical application of the Guidelines’ loss provisions—result in

astronomically high advisory sentencing ranges that bear little relation to the nature of the offense

or the history and characteristics of a defendant.

               a) Offshore Tax and FBAR Cases

       It has been rare that Guidelines sentences are imposed in cases involving tax evasion

related to the use of offshore bank accounts, including sentences imposed in this District. For

example, in United States v. Silva, Case No. 10-CR-00044 (E.D. Va. 2010), Judge Liam O’Grady



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sentenced the defendant to two years’ probation with special conditions of four months’ home

detention and 100 hours of community service in a case where the defendant repatriated funds

from his unreported offshore account into the United States by mailing himself 26 packages of

currency and carrying another two packages into the United States, always structured in amounts

under $10,000 to avoid detection. In United States v. Cambata, Case No. 15-CR-362 (E.D. Va.

2016), Judge Claude M. Hilton sentenced the defendant to one year of probation and a $15,000

fine where the defendant received $12 million from a Belizean company which was deposited into

an undisclosed account at a Swiss bank in the name of Hong Kong Corporate entity. Thereafter,

the funds were later transferred to a Singapore and Monaco bank account and the defendant failed

to file FBARs even after he was advised to do so by counsel. In United States v. Horsky, Case No.

16-CR-224 (E.D.Va. 2017), this Court sentenced the defendant, a former business professor at the

University of Rochester, convicted of hiding over $200 million in offshore accounts resulting in

approximate tax loss of $18 million, to seven months’ imprisonment followed by a period of

supervised release with special conditions. More recently, in United States v. Kim, Case No. 17-

CR-248 (E.D.Va. 2018), Judge Leonie M. Brinkema sentenced the defendant to six months’

imprisonment for failing to report $28 million in income hidden in a Swiss bank account, using

coded messages to communicate with Swiss bankers, and ultimately repatriating his funds by

conspiring with a Swiss jeweler to ship jewelry to the United States in an effort to disguise the

transfer.

        The types of sentences imposed in offshore tax cases beyond this District are similarly

instructive and appropriately considered by the Court. See, e.g., United States v. Doan, 498 F.

Supp. 2d 816, 820 (E.D.Va. 2007) (“This Court does not dispute the value in looking nationwide

to similarly situated criminal defendants of similar culpability that have committed similar acts



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resulting in similar convictions with similar backgrounds and with similar records under similar

circumstances.”). Indeed, while offenders are being punished, variances in tax fraud cases

involving the use of foreign accounts have been the rule—not the exception—around the country:

          Markus Hager, who maintained multiple offshore accounts in multiple countries held
           by a sham foreign entity, who used his own sister (a non-U.S. person) to open a secret
           bank account for him in Israel, and who established new offshore accounts even after
           he became aware that he was under federal investigation, was sentenced to 6 months’
           imprisonment. (Case No. 16 Cr. 447 (PKC) (E.D.N.Y. May 31, 2017));

          Ashvin Desai, who was convicted at trial of hiding over $8 million in an Indian bank
           account. The Guidelines called for a sentence of 78-96 months but the court sentenced
           the defendant to 6 months’ imprisonment and 6 months’ home detention. (Case No.
           11-CR-846 (EJD) (N.D. Ca. July 7, 2014));

          Ty Warner, who was prosecuted for an undisclosed offshore bank account that held a
           high balance of over $100,000,000, which resulted in a tax loss of over $5.5 million,
           but was sentenced to 2 years’ probation. (Case No. 13 Cr. 731 (CPK) (N.D. Ill. Jan. 14,
           2014));

          Mary Estelle Curran, who owned an undisclosed $47 million Swiss bank account which
           resulted in a $21 million FBAR penalty, was sentenced to five (5) seconds of probation.
           (Case No. 12 Cr. 80206 (KLR) (S.D. Fl. Apr. 25, 2013));

          Jacques Wajsfelner, who worked in real estate and advertising, held a Swiss bank
           account valued at over $5 million and owed more than $400,000 in back taxes, interest,
           and penalties, but was sentenced to three months home detention based in part on his
           PTSD stemming from his experiences during World War II (he fled the Nazis as a
           teenager). (Case No. 12 Cr. 641 (NRB) (S.D.N.Y. Mar. 8, 2013));

          Josephine Bhasin, who had an account at HSBC in India that held a high balance of
           $8.3 million, and filed a false FBAR after being contacted by the DOJ, was sentenced
           to 2 years’ probation, the first 3 months to be served in home confinement, and 150
           hours of community service. (Case No. 11 Cr. 268 (ADS) (E.D.N.Y. Mar. 8, 2013));

          Arvind Ahuja, who was convicted in jury trial of willfully filing a false return and
           willfully failing to file an FBAR due to a failure to disclose more than $8.5 million held
           in bank accounts at HSBC India. At sentencing, the court varied from the Guidelines’
           range of 41-51 months to a sentence of 3 years’ probation, 3 months home detention, a
           $350,000 fine, and 450 hours community service. (Case No. 11 Cr. 135 (CNC) (E.D.
           Wisc. Feb. 6, 2013));

          Lothar Hoess, the owner of a company that sold office supplies and equipment, had a
           tax loss of between $400,000 and $1,000,000, and faced a Guidelines’ range of 30 to

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          37 months, but was sentenced to three years’ probation. (Case No. 11 Cr. 154 (SM)
          (D.N.H. Mar. 30, 2012));

         Kenneth Heller, a disbarred attorney who had a secret $25 million account in
          Switzerland, faced a Guidelines’ range of 30-37 months, but was sentenced to 6 weeks’
          imprisonment. (Case No. 10 Cr. 388 (PKC) (S.D.N.Y. Jan. 23, 2012));

         Michael Reiss, who moved his offshore account to various institutions and countries,
          failed to participate in the IRS’ offshore voluntary disclosure program, and filed false
          FBARs, faced a Guidelines’ range of 30 to 37 months, but was sentenced to 3 years’
          probation, the first 8 months to be served in a community confinement center, and 30
          hours of community service a week for 3 years. (Case No. 11 Cr. 668 (RMB) (S.D.N.Y.
          Jan. 1, 2011));

         Ernest Vogliano, who opened UBS accounts in the names of Liechtenstein and Hong
          Kong shell corporations, and actively used funds and transferred some after learning of
          the criminal investigation, was sentenced to 2 years’ probation. (Case No. 10 Cr. 327
          (TPG) (S.D.N.Y. Apr. 26, 2011));

         Jules Robbins, who created a sham Hong Kong corporation to be listed as the nominal
          holder of his UBS accounts that held nearly $42 million. The court took into
          consideration his “otherwise unblemished life” in imposing a sentence of 12 months’
          probation. (Case No. 10 Cr. 333 (RJH) (S.D.N.Y. Oct. 8, 2010));

         Paul Zabczuk, who instructed clients to make payments to him through undisclosed
          accounts in Switzerland and the Bahamas and who was sentenced to 3 years’ probation,
          12 months’ home detention, and community service. (Case No. 10-CR-60112 (WPD)
          (S.D. Fl. July 26, 2010));

         John McCarthy, who transferred over $1,000,000 to an unreported Swiss bank account
          and communicated with bank representatives to orchestrate various transactions and
          who was sentenced to 3 years’ probation with 6 months of home detention and 300
          hours of community service. (Case No. 09-CR-784 (VBF) (C.D. Cal. Mar. 22, 2010));

         Juergen Homman, who failed to disclose a Swiss account holding approximately $5
          million and who was sentenced to 5 years’ probation and community service. (Case
          No. 09-CR-724 (SRC) (D.N.J. Jan. 6, 2010));

         Steven Rubinstein, who hid approximately $7 million in unreported Swiss accounts
          that he used to invest in real estate was sentenced to 3 years’ probation with 12 months
          of home detention. (Case No. 09-CR60166 (MGC) (S.D. Fl. Oct. 28, 2009)); and

         Igor Olenicoff, a businessman and investor, held more than $200 million in undisclosed
          offshore bank accounts and owed $52 million in back taxes, interest, and penalties, but
          was sentenced to two years’ probation. (Case No. 07 Cr. 227 (CJC) (C.D. Cal. Apr. 16,

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            2008)).

        Even if there were not numerous other factors warranting a sentence substantially below

the Guidelines in this case, sentencing Mr. Manafort to prison for many years would create an

undeniable and unwarranted disparity in the sentencing treatment of other defendants in tax fraud

and FBAR cases. See 18 U.S.C. § 3553(a)(6). This factor alone weighs heavily in favor of a

sentence that does not include a substantial term of imprisonment, particularly in light of the time

that Mr. Manafort has already served in solitary confinement and his agreement to forfeit a

substantial portion of his assets.

                b) Bank Fraud

        With respect to the bank fraud conduct, this case is unique because there is no evidence

that Mr. Manafort ever “purposely sought to inflict” financial losses with respect to Citizens Bank,

the Banc of California, and The Federal Savings Bank. See supra p. 30; see also USSG §

2B1.1(b)(1), App. Note. 3(A)(ii). Mr. Manafort makes no attempt here to re-litigate the question

of whether he provided false information in connection with the relevant loan applications. That

said, it is important to recognize that all of the relevant loans—no matter how they were

procured—were collateralized and/or performing prior to the commencement of this action (and

the related action in the District of Columbia). After the Special Counsel’s Office brought charges,

which included forfeiture allegations, Mr. Manafort’s liquid assets were frozen, preventing him

from continued performance and resulting in the defaults that Probation and the Special Counsel

characterize as loss. The Special Counsel’s charging decisions undeniably played a role in these

defaults. While the government is certainly entitled to bring charges as it sees fit, it should also

acknowledge that those decisions can have financial ramifications for defendants. As stated above,

there is no evidence that Mr. Manafort ever intended to purposely inflict financial losses as to any



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of the relevant banks. USSG § 2B1.1(b)(1), App. Note 3(A)(ii). Simply put, Mr. Manafort should

not be exposed to an increased loss amount under the Guidelines and additional punishment

because the government froze substantial assets.

      5. The Need to Provide Restitution to Any Victims of the Offense

         Probation has determined that Mr. Manafort should be ordered to pay restitution in the

amount of $24,815,108.74. See PSR ¶ 137. This amount was computed based on a tax loss amount

of $6,164,032, see PSR ¶ 69, and on a purported fraud loss amount of $18,651,076,74, see PSR ¶

68.     With regard to the fraud loss amount, the government is in the process of forfeiting the

collateral underlying the loans to Citizens Bank (restitution amount $2,577,724.80)48 and The

Federal Savings Bank (restitution amount $15,387,903.39).49 As a result, any restitution order

should include a provision that the restitution amount ordered by the Court will be offset and

reduced by any amount paid to Citizens Bank and The Federal Savings Bank through the forfeiture

process.

                                           CONCLUSION

         For all of the foregoing reasons, we respectfully request that the Court impose a sentence

significantly below the advisory Guidelines determined by Probation in this case.




                                                            
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    The government has agreed to pay $2,571,257.74 to Citizens Bank from the proceeds of the collateral
sale. See United States v. Paul J. Manafort, Jr., No. 1:18-mc-00167-ABJ (D.D.C) (the “Ancillary
Litigation”), Stipulation and Order of Settlement Regarding Petition of Citizens Financial Group (Doc. 32-
1).
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   The ancillary petition filed by The Federal Savings Bank has not yet been resolved. See Ancillary
Litigation, Petition of The Federal Savings Bank for Ancillary Hearing (Doc. 8).

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